Case 2:97-cr-20239-.]PI\/| Document 219 Filed 09/02/05' Page 1 of 2 Page|D 115

IN THE UNITED sTATEs DISTRICT cOURT FlLEo sv LQ,(E_“/__ o_c.
FoR THE wEsTERN DISTRICT 0F TENNESSEE
wESTERN DIVISION n 05 SEP _2 ph 5, 2b `

 

HiOMAS M. GOU.D
CLEF§(, U.S. D§STRICT COURT

UNITED'$TATES oF AMERICA, W@@F%@MWMB
Nos. 97-20234 Ml

)
)
)
Plaintiff, ) 97-20235 Ml
> 97-20236 Ml
v. ) 97-20237 Mr//
) 97-20233 Ml
EDDIE D. JETER, ) 97-20239 Ml
) 97-20240 Ml
Defendant. ) 97-20441 Ml
)‘

 

ORDER GRANTING EXTENSION OF TIME TO SURREI\TDER.

 

Before the Court is the Defendant's motion to continue his
surrender date (Defendant's current surrender date is September
6, 2005) , filed September 2, 2005. 'I'he Defendant requests an
additional thirty (30) days in order to continue his recovery
from a recent heart catherization and to determine if additional

heart surgery and possible eye surgery will be necessary.
'I'he Defendant's motion is hereby GRA.NTED.

IT IS SO ORDEREID THIS g DAY OF September, 2005.

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J P. MCCALLA
I'I'ED STATES DIS'I'RICT JUDGE

 

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UNITED `STATES DISTRICT COURT - W"'RTE D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 219 in
case 2:97-CR-20239 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

